                                 Case 1:21-cr-00041-JL Document 180-4 Filed 07/29/22 Page 1 of 7

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Bitcoin Investigations: Evolving Methodologies and Case Studies
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                             Abstract

                                Bitcoin is a decentralized, pseudonymous, virtual currency which has been linked to many nefarious activities,
                             such as money laundering, ransomware demands, and the purchase of contraband goods and services. Although it
                             has many redeeming features such as low transaction costs, no charge-backs, and service to the world’s 2.5 billion
                             unbanked, the public has become aware of Bitcoin through spectacular news stories of corruption and criminal
                             activities. Techniques to investigate Bitcoin and to identify its users are therefore required to enforce laws and
                             protect the public. This paper discusses what Bitcoin is and how it works, and explores various investigative
                             methodologies to perform Bitcoin network analysis, transactional analysis, and wallet analysis. Finally, this paper
                             discusses emerging issues and suggests areas for improvement with the goal of gaining general acceptance of
                             investigative techniques for admissibility as scientific evidence in courtroom testimony.


Keywords: Bitcoin; Litecoin; Pseudonymous; Investigation; Analysis;                        The foundations of Bitcoin, executed through cryptography, are
Methodology; Forensics; Blockchain                                                      confidentiality, integrity, non-repudiation, and authentication [3].
                                                                                        Bitcoin is the first successful execution of a distributed cryptocurrency
Context                                                                                 as originally described on the cypherpunks mailing list [4]. The FBI
                                                                                        was aware of Bitcoin relatively quickly [5].
   Bitcoin has captured the imagination of the financial world, and,
more disturbingly, that of the criminal element, who seek to use its                    Genesis and evolution
pseudonymous nature to conceal dealings related to nefarious activities
such as transacting in contraband goods and services, receiving                           The genesis block was created on January 3, 2009 and the first open-
payment for ransomware attacks, or money laundering, especially on                      source network client, Bitcoin v0.1, was published on the cryptography
the dark web. The public has become aware of Bitcoin through trial                      mailing list of metzdowd.com on January 9, 2009 [6].
coverage and articles related to these activities. Therefore, there is a                   Bitcoin continues to evolve to grow and address various challenges.
need to familiarize investigators with Bitcoin’s structure and to                       Bitcoin follows a Bitcoin Improvement Proposal (BIP) process to
attempt, to the greatest extent possible, to penetrate its pseudonymous                 introduce changes and features, as suggested by users, but the
nature, and some users’ anonymization efforts, to link transactions                     assessment of the proposal and the decision whether to implement lies
with suspects in a reproducible manner that will allow for admission                    solely with the developers [7]. The methods to implement approved
into court as scientific evidence in the future. The purpose of this paper              BIPs are soft forks and hard forks. Soft forks are updates that do not
is to present the mechanics of Bitcoin and then develop a forensic                      conflict with the existing software, and are completely reversible if
methodology framework for the various types of Bitcoin investigations.                  popular consensus is not achieved; hard forks are mandatory,
Bitcoin fundamentals, peer-to-peer network analysis, blockchain                         irreversible updates, without which the program cannot be used [8].
transactional analysis, and wallet analysis will be discussed, with case
studies presented for each type of investigation. Also, a brief
                                                                                        Blockchain
examination of other crypto currencies will be performed, and future
directions proposed.                                                                       The blockchain is a public, distributed ledger, which records every
                                                                                        transaction that occurs in the Bitcoin network, negates the double-
Fundamentals                                                                            spend1 problem, functions in place of an intermediary [9], and is
                                                                                        composed of a series of blocks, which in turn consist of groupings of
                                                                                        transactions. (Figure 1) The blockchain is defined as “the longest path
Bitcoin
                                                                                        from any block to the genesis block” [10] with the distance referred to
   Bitcoin,     a    decentralized,     peer-to-peer,     pseudonymous                  as the ‘height’. Double-spend attacks are resisted using a distributed
cryptocurrency and an electronic payment system, has rapidly                            proof-of-work2-based service, which assumes that the processing
expanded in recognition since the seminal work [1] was distributed to                   power is shared among network users and that most of them are
an obscure cryptography mailing list on metzdowd.com [2]. Because it                    honest [7]. At this time, the blockchain is approximately 110 GB [11].
is both a protocol and a currency, there can be confusion; ‘Bitcoin’
(capitalized, singular) refers to the protocol, software and network,
while ‘bitcoins’ (lower case, multiple) refer to the units of currency, as
does ‘BTC’.



J Forensic Res, an open access journal                                                                                              Volume 9 • Issue 3 • 1000420
ISSN:2157-7145
                    Case 1:21-cr-00041-JL Document 180-4 Filed 07/29/22 Page 2 of 7
Citation:   Andrew LR, Douglas AO (2018) Bitcoin Investigations: Evolving Methodologies and Case Studies. J Forensic Res 9: 420. doi:
            10.4172/2157-7145.1000420



                                                                                                                                            Page 2 of 7

                                                                                Demonstration of bitcoins as a chain of digital signatures, as various
                                                                             transactions is undertaken [1].
                                                                                The transfer of bitcoins ownership from one user to another is
                                                                             accomplished by attaching, at the end of the new transaction, a digital
                                                                             signature (using the owner’s private key) of the hash of the previous
                                                                             transaction and information about the new owner’s public key [15].
                                                                             This digital signature can be verified with the help of the owner’s public
                                                                             key [15]. Transactions consist of three parts: the sender, the receiver
                                                                             and a digital signature (the ‘witness’) that verifies the sender’s right to
                                                                             send the bitcoins [16]. After a transaction is created, it is broadcast to
                                                                             the Bitcoin network for validation and inclusion in a block [14].
 Figure 1: Blockchain structure.
                                                                                Address re-use is the discouraged practice of using a single address
                                                                             for multiple transactions which reduces the privacy of both the user
   Illustration of blockchain structure [12] used under Creative             and other parties transacted with, and allows an observer to gather
Commons Attribution-ShareAlike 3.0 Unported. Note that Prev_Hash             more information; organizations like the open bitcoin privacy project
represents the hash of the previous block, and Tx_Root is also referred      rate wallets partially on their ability to reduce such user behavior [17].
to as the Merkle Root.
                                                                                Multi-input transactions occur when a payment is being made by a
  Blockchain technology is being considered separately for many              user, but the amount of that payment exceeds the value in any given
applications, but its intrinsic function and value is in providing a         individual input address in that user’s wallet, but not the user’s balance
mathematically demonstrable means of settling transactions between           [7]. Under these circumstances, the wallet will choose a set of BTCs
parties that do not trust each other without resorting to a ‘trusted third   from the multiple input addresses and prepare the transaction, which
party’ [13].                                                                 allowed the conclusion that all these addresses belong to the same user
                                                                             [7].
   The pseudonymous nature of Bitcoin is based on this ledger
referring to aliases-Bitcoin addresses-as opposed to something more              By default, a new shadow address is generated automatically by the
personally identifiable [14]. Bitcoin addresses are “directly derived        main Bitcoin client when the total inputs exceed the required transfer
from elliptic-curve public keys” [15] and a user can routinely have          amount, and ‘change’ is required; therefore, if there are old output
hundreds of different addresses, all managed by their wallet [14].           addresses with a single new address (which has never before appeared),
                                                                             it is reasonable to conclude that this new address is a shadow address
   Each block contains a SHA-2563 hash of the previous block, which
                                                                             associated with the input address [7]. The use of shadow addresses is
links blocks into a series, forming the blockchain, which traces all the
                                                                             the only mechanism, other than its reliance on pseudonyms that
way back to the genesis block [15].
                                                                             Bitcoin employs to enhance user privacy [14].

Transactions                                                                 Miners
    Electronic coins, in this case bitcoins, are defined as “a chain of
                                                                                Bitcoin miners are geographically distributed nodes of computers
digital signatures,” [1] where each owner transfers the coin to the next
                                                                             whose role is to solve complex proof-of-work problems to confirm
by digitally signing a hash of the previous transaction and the public
                                                                             transactions and secure the blockchain [18]. Mining is how bitcoins are
key of the next owner and adding these to the end of the coin [1]
                                                                             ‘created’, and miners are awarded a periodically halving number of
(Figure 2) Elliptic key cryptography is used to instantiate public-key
                                                                             bitcoins, plus transaction fees, for their successes. For the first 210,000
cryptography protocols because they offer smaller key sizes and more
                                                                             blocks, approximately the initial four years, miners were rewarded with
efficient implementation while preserving security levels [15].
                                                                             50 bitcoins; during the next four years, the reward was 25 BTC. Now,
                                                                             the mining reward is 12.5 BTC, and that reward will be cut in half
                                                                             again around June of 2020 [19]. Ultimately, the limit of 21 million BTC
                                                                             will be mined, with the last new bitcoin expected to be created in 2140.
                                                                             At this point, the mining reward will consist of the transaction fees.
                                                                                To generate a new block, a miner must find a nonce4 value, which,
                                                                             when hashed with the Merkle root5 of all valid and received
                                                                             transactions, the hash of the previous block, and a timestamp, results
                                                                             in a value below a threshold as determined by the network difficulty
                                                                             [14]. This new block is verified by the other users on the network who
                                                                             check the hash calculations, and, once deemed valid, it is appended to
                                                                             the blockchain [14].
                                                                                The complexity of the proof-of-work problem (‘difficulty’) is
                                                                             adjusted every 2,016 blocks and increases with the rising processing
                                                                             power of miners to ensure that, on average, a block is solved every ten
 Figure 2: Bitcoin as a chain of digital signatures.                         minutes. One of the implications of this is that hobbyists, and others
                                                                             that cannot afford a substantial investment in mining hardware, have
                                                                             limited computing power, and therefore are unlikely to ever solve the



J Forensic Res, an open access journal                                                                                   Volume 9 • Issue 3 • 1000420
ISSN:2157-7145
                    Case 1:21-cr-00041-JL Document 180-4 Filed 07/29/22 Page 3 of 7
Citation:   Andrew LR, Douglas AO (2018) Bitcoin Investigations: Evolving Methodologies and Case Studies. J Forensic Res 9: 420. doi:
            10.4172/2157-7145.1000420



                                                                                                                                          Page 3 of 7

proof-of-work problems on their own. Mining pools solve that issue,           As most altcoins are forks of either Bitcoin or Litecoin, an
by grouping like-minded individuals together to combine their              investigator can use very similar approaches and slightly modified
resources and share rewards earned in the ratio of computing power         tools to examine them.
provided [20].
   In the beginning, when difficulty was low, miners could use laptops     Investigations
or desktops to mine bitcoins. As competition increased, and difficulty
rose, miners created multi-graphic card rigs to harness the power of       Network analysis
graphics processing units (GPUs). The final evolution was to
Application Specific Integrated Circuits (ASICs), which continue to        Background
race to smaller and smaller chips, and greater electrical efficiency,
while adding more and more to their hashes/second rates. ASICs are            Network analysis is the study of the Bitcoin peer-to-peer network.
essentially mandatory for BTC mining as the cost of electricity in using   Much of the research to date has been focused on the goal of testing or
any previous method outweighs the value of the expected reward.            improving Bitcoin user privacy, and CoinSeer was developed as a
                                                                           custom Bitcoin client to perform data collection for network analysis
                                                                           [33].
Mixing services
                                                                              When a user first turns on a Bitcoin client, it attempts to connect
   Governmental Bitcoin exchange regulation introduced identity            with its peers using a hard-coded list, while at the same time sending
verification, which was speculated to inadvertently lead to an             out an addr message containing its own IP address and port to
escalation in the battle for privacy through the adoption of               advertise its presence and permit other nodes to initiate connections
anonymizing services [21]. Mixing services include traditional             [33]. The client can also send to a connected user a getaddr message to
centralized laundering services, which may operate with anonymity          request the connected user’s known peers, to which the connected user
themselves and fail to deliver outputs [22] and newer decentralized        can reply with up to 1,000 addr messages, allowing the client to initiate
approaches. Proposed mixing services, including CoinParty [23] and         additional connections [33].
CoinShuffle [24] offer decentralized transaction anonymization
services and possible plausible deniability in an attempt to defeat the       The network uses a gossip protocol propagation method [33] to
work by Spagnuolo et al.                                                   update and synchronize nodes’ ledger replicas by signalling to its
                                                                           neighbours the availability of transaction and block messages with an
   CoinJoin is trustless mixing protocol, which works intrinsically with   inv message, to which an interested node can reply with a get data
bitcoin, that can mix bitcoins within a single transaction without         message [10]. The first node is called the ‘origin’, and each hop in
needing a central service or trust in among the participants [25]. Its     broadcasting incurs a ‘propagation delay’ comprised of transmission
mechanism is based on the ability of signatures required in a              time and verification time. It was found to take any given block about
transaction to be formed in a distributed manner by a like-minded          two weeks to reach everyone on the network [33].
group [26].
   Mixing services may not complicate peer-to-peer network analysis        Methodologies
[27], and have no bearing on wallet analysis. However, these services
do bring unique challenges to transactional analysis, and without logs        Peer-to-peer network analysis has met with some success in linking
of who got which bitcoins, investigations are not feasible [28].           transactions to IP addresses, but requires a long-term, live connection
                                                                           to the Bitcoin network, or the results of a previous connection from
                                                                           software such as CoinSeer [27].
Other cryptocurrencies
                                                                             Gavin Andresen, Chief Scientist at the Bitcoin Foundation
   Bitcoin is responsible for just under 70% of the cryptocurrency
                                                                           explained the privacy risk of network monitoring:
market capitalization despite the current existence of 694 different
cryptocurrencies [29]. The other cryptocurrencies are known as                Unless you are very careful in the way you use Bitcoin (and you
‘Altcoins’ as many are derived from bitcoin, sometimes with changes to     have the technical know-how to use it with other anonymizing
the speed at which transactions are added, the cryptographic algorithm     technologies like Tor or i2p), you should assume that a persistent,
used, or the use of proof-of-stake6 in addition to proof-of work to        motivated attacker will be able to associate your IP address with your
record transactions [30]. Altcoins are occasionally proposed to address    bitcoin transactions [34].
perceived shortcomings of Bitcoin and some go as far as to predict that
                                                                              Early research showed that opening a connection to all public peers
Bitcoin will be usurped by cryptocurrencies with improved technical
                                                                           on the network simultaneously allowed mapping of IP addresses to
and security features [31].
                                                                           Bitcoin addresses based on the assumption that “the first node to
   Litecoin (LTC) is a popular altcoin, with a current market cap of       inform you of a transaction is the source of it. . . [this is] more or less
over $500 million [29]. Its block time (transaction confirmation time)     true, and absolutely over time" [35]. At that point, even if 50,000
is four times as fast as bitcoin at 2.5 minutes, it will ultimately have   connections were required, it could be done in Python, with the bonus
four times the number of coins in circulation as bitcoin, and it uses      that this allowed an acceleration of one’s own transactions, as they
sCrypt7 as opposed to SHA-256 as the primary encryption scheme             could be pushed to everyone at once [35]. Currently, there are less than
[32]. The use of sCrypt was designed to prevent or slow the adoption of    7,000 nodes [36], suggesting that this approach is feasible.
ASICs-based mining (to avoid concentration of mining power),
                                                                             CoinSeer was built as a custom client with three components; the
through its heavy use of RAM [32], but this was ultimately
                                                                           Collector was made to connect with all active nodes, collect all addr
unsuccessful as Litecoin ASICS emerged in 2014.
                                                                           messages and send getaddr messages to each newly connected peer,
                                                                           and collect a total of nine different types of messages [35]. Data



J Forensic Res, an open access journal                                                                                 Volume 9 • Issue 3 • 1000420
ISSN:2157-7145
                    Case 1:21-cr-00041-JL Document 180-4 Filed 07/29/22 Page 4 of 7
Citation:   Andrew LR, Douglas AO (2018) Bitcoin Investigations: Evolving Methodologies and Case Studies. J Forensic Res 9: 420. doi:
            10.4172/2157-7145.1000420



                                                                                                                                           Page 4 of 7

collected, including meta-data such as timestamp, sender IP and port,       user were identified, their entire cluster of transactions and addresses
were stored in binary files and passed to the second component, the         on the blockchain could be identified, despite use of the CoinJoin
Parser, which deconstructed the files and put them into comma-              protocol or similar [37].
separated files for loading into the database [35]. The third component
of CoinSeer was analysis, which allowed for data summary,                   Methodologies
transformation and visualization [35]. Handshakes like partial
fingerprints, which include blockchain height, client name and                 Transactional analysis offers the advantage of not requiring a live
timestamp, may be used to connect isolated, anomalous events such as        connection to the Bitcoin network, and instead is retrospective in
a node transmitting, from different IP addresses over time, a specific      nature as it uses a collection of the blockchain, and analysis with tools
double-spend transaction, which was rejected by peers, and therefore        such as BitIodine [38]. Transactions can be manually reviewed on
not recorded elsewhere [35].                                                websites such as Blockchain.info or WalletExplorer.com.

  For five months, from July 24, 2012 to January 2, 2013, CoinSeer             Clustering is used to attempt to identify groups of addresses that
connected to a median of 2,678 peers and collected 60 GB of data per        belong to a single user. Heuristic I is multi-input transactions, and
week, ultimately resulting, using highly conservative constraints, in the   Heuristic II is shadow (or change) addresses. Use of both heuristics in
mapping of between 252 and 1,162 Bitcoin addresses to the IP                an early study of the first 140,000 blocks of the blockchain (up to
addresses that likely owned them [27].                                      August 2011) resulted in grouping approximately 58% of bitcoin
                                                                            addresses with an average of 11.55 addresses per cluster [14]. Evasion
   Koshy et al. concluded that the use of mixing services did not affect    of Heuristic I was concluded to be very difficult, as it is a basic
their methodology. The use of online eWallets, which own the Bitcoin        operation of bitcoin [39]. Heuristic II could be evaded by returning
address instead of the user, resulted in the Bitcoin address being          change to the sender’s address, but this would decrease the user’s
associated with the eWallet’s IP address [27]. However, the eWallet         privacy through strengthening Heuristic I [14].
service provider then is a chokepoint, whose user information may be
vulnerable to being compelled by law enforcement [27].                         The validity of the assumption of Heuristic I where multi-input
                                                                            transactions are linked to a single user, is now questionable through
                                                                            the existence of the coin join protocol and some evidence of its use
Case Study
                                                                            [26].
   Using CoinSeer, over 90% of the time, when analyzing peer-to-peer
                                                                               Integration of off-network information, such as publicly available
network traffic activity, the pattern was ‘multi-relayer, non-rerelayed
                                                                            information, and voluntary disclosures of bitcoin addresses from
transactions’, but some atypical behavior was noted [27]. In one case, a
                                                                            sources like forums and Twitter, allows even more mapping of Bitcoin
transaction was relayed from a single IP, and never relayed again;
                                                                            addresses to identity information [40].
which is very unusual for the “gossip” protocol, with only 2.5% of
transactions following a single-relayer pattern; in this case ownership        Orders books are normally available to support trading tools, and
of the attempted transaction is attributable to the IP address, but never   bitcoins on Bitcoin exchanges are often converted from other
appears in the blockchain [27]. This case demonstrates the intelligence-    currencies, and result in a precise decimal value, with eight significant
gathering and non-targeted nature of network analysis, though the           digits, which may be unique enough to map the transaction to a public
information may be of investigative use afterwards.                         key and associate it with the exchange [40].
                                                                               Temporal analysis whereby public keys are used repeatedly at the
Transactional Analysis                                                      same time may further associate a group of addresses with a single user
                                                                            [40].
Background
                                                                               The passive, retroactive techniques used to identify users based on
   Transactional analysis is primarily the study of the blockchain. An      Bitcoin web payments leverage online tracking through both leaks and
early paper digested all Bitcoin transactions to date, with an emphasis     intentional dissemination to third-parties [39]. This information would
on transactions that were greater than 50,000 Bitcoins, concluded that      have to be compelled from the trackers and third parties for analysis.
almost all those transactions were descendants of a single 90,000 BTC       Online trackers have visibility into sensitive details of payment flows,
transaction from November 2010 [18].                                        including items’ prices and identities, and this can provide sufficient
                                                                            information to uniquely link the transaction to the blockchain [39].
   Another early paper studying anonymity and privacy on the bitcoin
                                                                            Furthermore, as per Goldfeder et al. [39] this information can be
network noted the gap between actual and potential anonymity, and
                                                                            leveraged to illuminate the user’s other web activities through tracking
using transactional analysis, concluded that significant effort would be
                                                                            cookies, and to other bitcoin transactions through clustering
required to defeat their clustering heuristic based on bitcoin change
                                                                            techniques. In many cases, merchants send transaction-specific Bitcoin
addresses. The work of Meiklejohn [20] was augmented into a more
                                                                            addresses, making it trivial to link to the blockchain, or provide
automated and scalable modular framework called BitIodine [28]
                                                                            personally identifiable information (PII) for advertising and analytics
which incorporated classification and labelling, attempted to identify
                                                                            purposes [39]. Extraction of PII and Bitcoin addresses by malicious
users through web scraping, and was tested successfully on several
                                                                            trackers is another possibility [39].
real-world cases.
                                                                               Another form of transactional analysis is active analysis, where the
   A recent paper studied the privacy risks associated with the use of
                                                                            investigator actively participates in the network, through deploying
cryptocurrencies to make web payments [37] and showed that third-
                                                                            and tracking identified ‘marked’ bitcoins through transactions to
party web trackers typically have sufficient information to uniquely
                                                                            discover addresses, possibly in collaboration with other users, or by
identify the transaction on the blockchain, and connect it to the user’s
                                                                            operating a mixing service [40]. It is therefore clear that large services,
cookie and actual identity. Further, if two purchases from the same



J Forensic Res, an open access journal                                                                                  Volume 9 • Issue 3 • 1000420
ISSN:2157-7145
                    Case 1:21-cr-00041-JL Document 180-4 Filed 07/29/22 Page 5 of 7
Citation:   Andrew LR, Douglas AO (2018) Bitcoin Investigations: Evolving Methodologies and Case Studies. J Forensic Res 9: 420. doi:
            10.4172/2157-7145.1000420



                                                                                                                                          Page 5 of 7

like exchanges, wallet services and mixing services have the capability     concerns have been expressed regarding potential loss of privacy
to track and identify a large subset of user activity [40].                 associated with SPV clients [47].
    BitIodine was designed as a collection of modules to parse, cluster,       There are many different forms of wallets, all of which are
classify and visualize Bitcoin transactions and was successfully used to    designated as hot (connected to the internet) or cold (offline). Cold
identify a likely cold storage Silk road (an infamous black market in the   wallets are obviously more secure, and are used for long-term holdings,
deep web) wallet with over 111,114 BTC, and quantify ransoms paid           while hot wallets are for regular use. Wallets can be desktop, mobile,
for CryptoLocker releases totaling 375.93 BTC [28]. Unfortunately,          web, physical, hardware, or Bitcoin clients [48]. Web-based wallets
BitIodine is no longer being actively developed [41], though Spagnuolo      avoid the need to download the entire blockchain, but, depending on
is continuing to work on a new clusterizer [42].                            where the private keys are stored, the user may be trading convenience
                                                                            for security [47].
Case Study
                                                                            Methodologies
   Carl M. ‘French Maid’ Force, former DEA agent involved in the Silk
road investigation that eventually led to the conviction of Ross ‘Dread        Complete wallet analysis of the original Bitcoin client does not
Pirate Roberts’ Ulbricht [41] was himself charged [42] and                  require having possession of the wallet’s (optional) passphrase to
subsequently pleaded guilty to extortion, money laundering and              perform its decryption; passwords are only required to initiate
obstruction of justice [43]. It was the blockchain investigative prowess    transactions, as using a passphrase encrypts just the private keys [47].
of Special Agent Tigran Gambaryan of the IRS, using Blockchain.info         Many artefacts, regardless of wallet encryption, can be recovered using
and WalletExplorer.com, who provided, in Exhibit B of his criminal          forensic tools, such as the python script BTCscan [48] and Magnet
complaint [44] an elaborate tracing of all bitcoin transactions totaling    Forensics’ IEF or Axiom products [49].
525 BTC through multiple addresses from Ulbricht to force (Figure 3).
                                                                               The use of Magnet Forensics’ IEF or Axiom products allows an
                                                                            investigator to recover addresses associated with the wallet, the ‘labels’
                                                                            or comments that the user may have added for convenience (both from
                                                                            the wallet.dat file), and queries on the Bitcoin network (from
                                                                            debug.log) which may or may not relate to local user activity [49].
                                                                            There may also be backup wallet files, which can be named anything,
                                                                            but at least in the case of the common Bitcoin-Qt (now Bitcoin Core)
                                                                            client, offset 0x12 contains the string ‘b1’ [50].

                                                                            Case study
                                                                               Ross Ulbricht was arrested in the science fiction section of Glen
                                                                            park public library in San Francisco on October 1, 2013, with his
                                                                            laptop open and logged into Silk Road’s internal Staff Chat as ‘dread’
                                                                            [51]. During the trial, the FBI forensic examiner, Thomas Kiernan
                                                                            testified that the laptop was seized while unencrypted, and the
                                                                            wallet.dat file was found on the laptop and on an encrypted USB drive
                                                                            as a backup [52] FBI Special Agent Ilhwan Yum testified about the
                                                                            government’s access to the Silk road wallets and Ulbricht’s laptop
                                                                            wallet, and alluded to the ease of performing an analysis to see if Silk
 Figure 3: Bitcoin transaction tracing.                                     road bitcoins had been transferred to Ulbricht’s personal wallet [52].
                                                                            Yum testified that, on behalf of the FBI, he had seized 20,000 BTC from
                                                                            the Iceland Silk road server and 144,000 BTC from the Ulbricht’s
   Exhibit B from the criminal complaint, issued by Special Agent           laptop wallet [52], which requires access to the private keys, meaning
Tigran Gambaryan of the IRS against Carl M. Force, tracing                  the wallet itself was not encrypted. Ulbricht was ultimately convicted
transactions totaling 525 bitcoins from Ulbricht to Force, detailing        of seven charges relating to engaging in a criminal enterprise, drug
addresses, amounts, and date/time stamps [45].                              trafficking, and money laundering, and sentenced to life in prison [53].

Wallet Analysis                                                             Emerging issues and future directions
                                                                               There are issues related to the general evolving nature of Bitcoin
Background
                                                                            through the BIP process and specific changes that will impact
   The Bitcoin wallet is where private keys are stored, and allows the      investigators and their tools. One current issue is Segregated Witness
user to conveniently conduct Bitcoin transactions. Wallets automate         (SegWit) versus Bitcoin Unlimited, which centers on block size, and
the mechanics of sending and receiving bitcoins and are referred to as      Bitcoin’s ability to scale to process large numbers of transactions.
a ‘client’ when they actively participate in the network. Lightweight       SegWit was proposed by Bitcoin Core developers in BIP 141 [54] and
wallets save on disk space and bandwidth by not keeping a                   creates a structure containing validation data (also called the witness
comprehensive copy of the blockchain, unlike full node wallets [46].        data) separate from the transaction data itself, introducing a new
Instead, as of the second half of 2011, simplified payment verification     transaction format that will increase the transaction capacity of each
(SPV) was implemented to allow for lightweight wallet use [47]. Some        block. SegWit can be implemented with a soft fork. Bitcoin Unlimited



J Forensic Res, an open access journal                                                                                 Volume 9 • Issue 3 • 1000420
ISSN:2157-7145
                    Case 1:21-cr-00041-JL Document 180-4 Filed 07/29/22 Page 6 of 7
Citation:   Andrew LR, Douglas AO (2018) Bitcoin Investigations: Evolving Methodologies and Case Studies. J Forensic Res 9: 420. doi:
            10.4172/2157-7145.1000420



                                                                                                                                              Page 6 of 7

is a hard fork approach supported by many miners which removes the          References
Bitcoin Core hard-coded block size limit of 1 MB to a consensus sized
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